   Case 6:18-cr-00014-JRH-CLR Document 479 Filed 04/18/19 Page 1 of 1



                                                                       v.o.iJisAuCOUi'ti
                   IN THE UNITED STATES DISTRICT COURT                    3AV,\i';i1AH DiV,

                 FOR THE SOUTHERN DISTRICT OF GEORGIA                  2(]1SAP^? \f\ PM |:56

                               STATESBORO DIVISION                 •1 ncv


                                                                          SU. D!

THE UNITED STATES OF AMERICA,

                Plaintiff,

                   V.                                6:18CR14


MICHAEL SHANE BISHOP,

                Defendant.




                                    ORDER




     Counsel in the above-captioned case have advised the Court

that all pretrial motions have been complied with and/or that all

matters   raised    in   the    parties'   motions     have   been      resolved     by

agreement.     Therefore,       a   hearing     in    this      case     is    deemed

unnecessary.    All motions are dismissed.



     SO ORDERED, this      iiji     day of April, 2019.



                                     CHRISTOPHER L. RAY
                                     UNITED STATES MAGISTRATE JUDGE
                                     SOUTHERN   DISTRICT OF GEORGIA
